Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 1 of 9




                                             2:22-cv-00924-CDS-DJA
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 2 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 3 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 4 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 5 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 6 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 7 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 8 of 9
Case 2:22-cv-00924-CDS-DJA Document 6 Filed 08/24/22 Page 9 of 9
